Counsel argued this demurrer on the assumption a preliminary statement of demurrer was incorporated in the demurrer.
The questions presented by this demurrer arise under section 1430e of the 1939 Supplement to the General Statutes. It concerns an action claiming damages in excess of the $15,000 limit provided by statute, and alleging loss of earnings and services of a minor boy. The question has been so frequently and so well discussed as not to require a lengthy memorandum.See Kowalsky vs. Leonard, 4 Conn. Sup. 219 (Inglis, J.);Lucier vs. Hittleman, 125 Conn. 635, 638, and Perlstein vs.Westport Sanitarium Co., 11 Conn. Sup. 117, 119 (O'Sullivan, J.). These cases stem from Kling vs. Torello, 87 Conn. 301. The recurring frequency, of so recent date of the questions involved merits the suggestion contained in Lucier vs.Hittleman, supra, p. 639, that the matter should be referred to the Legislature "as has been done in several of the states."
(Italics added.)
   The demurrer is sustained.